        Case 1:21-cr-00175-TJK Document 136-1 Filed 08/08/21 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                    )
 UNITED STATES OF AMERICA,                          )
                                                    )
                                                    )
                        v.                          ) Case No. 1:21-cr-175
                                                    )
 ETHAN NORDEAN, et al.,                             ) District Judge Timothy J. Kelly
                                                    )
         Defendants.                                )
                                                    )

                         DECLARATION OF MICHAEL NORDEAN

        I, MICHAEL NORDEAN, a resident of the State of Washington, hereby declare under

penalty of perjury that the following is true and correct:

        1.     I am the father of Ethan Nordean, who is currently jailed as he awaits trial. In his

motion to reopen the bail proceedings in this case, Ethan offered a bond secured by $1 million in

cash.

        2.     In response to that offer, the government filed a response in Court stating,

“Defendant has not offered the Court any information about the source of the funds, and the sudden

windfall raises more questions about Defendant’s continuing power and clout than it resolves.”

Directly after the government made that filing, several media outlets repeated the government’s

innuendo about my son.

        3.     The government’s statement is outrageous. The proposed bail funds do not belong

to Ethan, who is jailed, but to me. I am the owner of the funds. They are legally sourced.




                                                                                                 1
Case 1:21-cr-00175-TJK Document 136-1 Filed 08/08/21 Page 2 of 2
